                        IN THE UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF WISCONSIN



WILLIAM FEEHAN and DERRICK VAN
ORDEN,
                                                      CASE NO. 2:20-cv-1771
       Plaintiffs.
v.

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARLC
L. THOMSEN, MARGE BOSTELMAN,
JULIE M. GLANCEY, DEAN HUDSON,
ROBERT F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS, in
his official capacity,

       Defendants.




                   PLAINTIFFS’ MOTION FOR
           DECLARATORY, EMERGENCY, AND PERMANENT
                     INJUNCTIVE RELIEF



       Pursuant to FRCP 65 and Civil L. R. 7, COMES NOW Plaintiffs, William Feehan and

Derrick Van Orden, by and through their undersigned counsel, and file this Emergency Motion

for Temporary Restraining Order and Permanent Injunctive Relief.

       The specific relief requested by Plaintiff is set forth in the proposed

form of Order is attached. The basis for the Motion is set forth in Plaintiffs Memorandum

submitted in support.




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       Respectfully submitted, this 30th day of November 2020.


                                               /s Sidney Powell*
                                               Sidney Powell PC
                                               Texas Bar No. 16209700

2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission forthcoming



                                CERTIFICATE OF SERVICE

       This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Motion To File

Affidavits Under Seal and For In Camera Review with the Clerk of Court using the CM/ECF

system, and that I have delivered the filing to the Defendants by email and FedEx at the

following addresses:




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